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            IN THE UNITED STATES COURT OF FEOERAL CLAIMS
                      OFFICE OF SPECIAL MASTERS
                                               No. 07-119V
                                        Filed: December 5,-2011
                                          (Not to be Published)                                     · , .• ,

*** * * * * ***** * * ***** * * * * ** • * *
J.E.,                                      *
                                           *
       Petitioner,                         •                 Autism; Attorneys' Fees and Costs
                                           *
              V.                           *
                                           *
SECRETARY OF HEALTH AND                    *
HUMAN SERVICES,                            *
                                                    *·

     Respondent.           *
****************************

                         DECISION ON ATTORNEY FEES ANO COSTS1


Vowell, Special Master:

        Pro se petitioner, J.E., filed a "petition to reclaim costs associated with filing" on
November 9, 2011. Her request was interpreted as a motion for costs. Petitioner is
entitled to reasonable costs pursuant to§§ 15(b) and (e)(1 ). Petitioner seeks costs in
the amount of $763.46. After requesting additional time to review the motion and
prepare a response, on December 5, 2011 respondent's counsel orally indicated to the
court that she has no objection to petitioner's motion.

        I find that this petition was brought in good faith and upon a reasonable basis.
Therefore, an award for fees and costs is appropriate, pursuant to 42 U.S.C. §§ 300aa-
15(b) and (e)(1). Further, the proposed amount seems reasonable and appropriate.
Accordingly, I hereby award $763.46 In the form of a check payable to petitioner,
J.E., for her personal litls,ation costs.

1
  Because this unpublished decision contains a reasoned explanation for the action in this case, I intend
to post this decision on the United States Court of Federal Claims' website, in accordance with the E­
Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44
U.S.C. § 3501 note (2006)). In accordance with Vaccine Rule 18(b), a party has 14 days to identify and
move to delete medical or other information, that satisfies the criteria in 42 u.s.c. § 300aa-12(d)(4)(8).
Further, consistent with the rule requirement, a motion for redaction must include a proposed redacted
decision. If, upon review, I agree that the identified material fits within the requirements of that provision·, I
will delete such material from public access.

                                                         1
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           In the absence of a timely�filed motion for review filed pursuant to Appendix B ·of
    the Rules of the U.S. Court of. Federal Claims; the clerk of the court shall enter judgment
    in accordance herewith. 2


    IT IS SO ORDERED.



                                                             ��
                                                             Special Master




    2
     Entry of judgment can be expedited by each party's filing of a notice renouncing the right to seek review.
    See Vaccine Rule 11 (a).


                                                         2
